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                   IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,
                   Plaintiffs,                                 4:14CR3031
      vs.
                                                   MEMORANDUM AND ORDER
ALISON R. TRUEBLOOD,
                   Defendant.



      Defendant has moved to continue defendant’s status conference or possible change
of plea hearing. (Filing No. 32). The parties need additional time to review documents
and engage in plea discussions. The motion to continue is unopposed and the court finds
the motion should be granted. Accordingly,

      IT IS ORDERED:

      1)     Defendant’s motion to continue, (filing no. 32), is granted.

      2)     The defendant's status conference or possible plea hearing will be held
             before the undersigned magistrate judge on July 1, 2014 at 3:00 p.m.. The
             defendant is ordered to appear at this hearing.

      3)     For the reasons stated by counsel in the motion, the Court finds that the
             ends of justice served by continuing defendant's plea hearing outweigh the
             best interest of the defendant and the public in a speedy trial. Accordingly,
             the time between today's date and the district court judge's acceptance or
             rejection of the anticipated plea of guilty shall be excluded for speedy trial
             calculation purposes. 18 U.S.C. § 3161(h)(7).



      Dated this 6th day of June, 2014.

                                                BY THE COURT:
                                                s/ Cheryl R. Zwart
                                                United States Magistrate Judge
